
PER CURIAM.
AFFIRMED. This is an appeal involving the alleged consent search of a bus passenger in a manner similar, to that involved in State v. Avery, 531 So.2d 182 (Fla. 4th DCA 1988). However, unlike Avery, the trial court here also made a specific factual finding based upon the conflicting testimony of the appellee and the police officers that the appellee did not voluntarily consent to a search of his luggage. We affirm the trial court’s ruling that the search was illegal based upon its resolution of the factual issue as to whether consent was given. See Denehy v. State, 400 So.2d 1216 (Fla.1980).
ANSTEAD, LETTS and WALDEN, JJ., concur.
